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                            UNITED STATES OF AMERICA
                          UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MICHIGAN
                                NORTHERN DIVISION




UNITED STATES OF AMERICA,

                         Plaintiff,               Case No. 2:13-cr-9-04

v.                                                HON. R. ALLAN EDGAR

Kristin Ellen Bergeron,

                Defendant.
____________________________________/


                 ORDER ADOPTING REPORT AND RECOMMENDATION


        The Court has reviewed the Report and Recommendation filed by the United States

Magistrate Judge in this action. The Report and Recommendation was duly served on the

parties, and no objections have been filed thereto within the time required by law.

        THEREFORE IT IS ORDERED THAT:

        1.      The Report and Recommendation of the Magistrate filed 9/3/2015 (Doc.

#228) is approved and adopted as the opinion and f indings of this Court.

        2.      Defendant's supervised release be revoked and defendant be released to an

in-patient treatment facility; and

        3.      Defendant return to this Court for sentencing upon discharge from treatment.




Date:        9/21/2015                                /s/ R. Allan Edgar
                                                  R. ALLAN EDGAR
                                                  UNITED STATES DISTRICT JUDGE
